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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF KENTUCKY
                                    AT LOUISVILLE

UNITED STATES OF AMERICA                                                              PLAINTIFF


v.                                                            CRIMINAL NO. 3:21CR-101-DJH


SEIKO ROSS                                                                         DEFENDANT


                              PETITION FOR WRIT OF HABEAS
                               CORPUS AD PROSEQUENDUM
                                     Electronically Filed

        Petitioner, United States of America, by counsel, respectfully shows to this Honorable

Court that Seiko Ross is now confined in the Louisville Metropolitan Detention Center in

Louisville, Kentucky, under authority of the Director , and in accordance with the laws thereof,

having been charged with an offense against the laws of the State of Kentucky by virtue of which

charge the Director of said Louisville Metropolitan Detention Center now holds the said Seiko

Ross.

        Your petitioner avers that a criminal proceeding is now pending in the United States

District Court for the Western District of Kentucky, at Louisville, Kentucky, charging him with

violations of Title 21, United States Code, Sections 846, 841(a)(1) and (b)(1)(C), 922(g)(1),

924(a)(2) and 924(c)(1)(A), which action will be called for arraignment before this Honorable

Court on October 28, 2021 at 10:00 a.m., at Louisville, Kentucky.

        WHEREFORE, your petitioner prays that this Honorable Court forthwith order a writ of

habeas corpus ad prosequendum to issue from this Court to the United States Marshal for the

Western District of Kentucky, and the Director of Louisville Metropolitan Detention Center at

Louisville, Kentucky, requiring them to produce the body of the said Seiko Ross on or before
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October 28, 2021 at 10:00 a.m., at Louisville, Kentucky, and to remain in federal custody until

final resolution of this case, for the purpose of defending, if he wishes, against said prosecution.

                                                Respectfully submitted,

                                                MICHAEL A. BENNETT
                                                Acting United States Attorney



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